                                                                Case 5:16-cv-00918-GW-DTB Document 1 Filed 05/05/16 Page 1 of 12 Page ID #:1


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                             11251 RANCHO CARMEL DR. # 500694




                                                                10                      UNITED STATES DISTRICT COURT
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                                                                                       CENTRAL DISTRICT OF CALIFORNIA
                                                                11
                                                                   DIEGO CASANOVA, individually and    )      Case No.
                                                                12 on behalf of others similarly situated,
                                                                                                       )
                                                                                                       )      CLASS ACTION
                                                                13                Plaintiffs,          )
                                                                                                       )      CLASS ACTION COMPLAINT
                                                                14          vs.                        )      FOR VIOLATION OF:
                                                                                                       )
                                                                15                                     )      1. THE FAIR DEBT COLLECTION
                                                                     LVNV FUNDING, LLC; and J.C.       )      PRACTICES ACT; AND
                                                                16   CHRISTENSEN & ASSOCIATES,         )
                                                                     INC.                              )      2. THE ROSENTHAL FAIR DEBT
                                                                17                                     )      COLLECTION PRACTICES ACT
                                                                                  Defendants.          )
                                                                18                                     )      [DEMAND FOR JURY TRIAL]
                                                                                                       )
                                                                19                                     )
                                                                     _________________________________ )
                                                                20

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                                                                                                            -1-
                                                                                                  CLASS ACTION COMPLAINT
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                                                                Case 5:16-cv-00918-GW-DTB Document 1 Filed 05/05/16 Page 2 of 12 Page ID #:2


                                                                 1                                             I.
                                                                                                         INTRODUCTION
                                                                 2

                                                                 3         1.     Plaintiff DIEGO CASANOVA (hereinafter referred to as “Plaintiff”),

                                                                 4 brings this Class Action Complaint for damages, injunctive relief, and any other

                                                                 5 available legal or equitable remedies against Defendant LVNV FUNDING, LLC and

                                                                 6 J.C. CHRISTENSEN & ASSOCIATES, INC. (collectively referred to as

                                                                 7 “Defendants”) for violations of the Federal Fair Debt Collection Practices Act

                                                                 8 (“FDCPA”) and the Rosenthal Fair Debt Collections Practice Act (“Rosenthal

                                                                 9 FDCPA)
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                                                                10         2.     Plaintiff alleges as follows, upon personal knowledge as to himself and
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                                                                11 his own acts and experiences, and, as to all other matters, upon information and

                                                                12 belief, including investigation conducted by his attorneys.

                                                                13         3.     Plaintiff makes these allegations on information and belief, with the

                                                                14 exception of those allegations that pertain to a plaintiff, or to a plaintiff's counsel,

                                                                15 which Plaintiff alleges on personal knowledge.

                                                                16         4.     While many violations are described below with specificity, this

                                                                17 Complaint alleges violations of the statutes cited in their entirety.

                                                                18         5.     Unless otherwise stated, Plaintiff alleges that any violations by

                                                                19 Defendants were knowing and intentional, and that Defendants did not maintain

                                                                20 procedures reasonably adapted to avoid any such violation.

                                                                21

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                                                                                                                -2-
                                                                                                      CLASS ACTION COMPLAINT
                                                                23
                                                                Case 5:16-cv-00918-GW-DTB Document 1 Filed 05/05/16 Page 3 of 12 Page ID #:3


                                                                 1         6.    Unless otherwise indicated, the use of Defendants in this Complaint

                                                                 2 includes all agents, employees, officers, members, directors, heirs, successors,

                                                                 3 assigns, principals, trustees, sureties, subrogees, representatives, and insurers of

                                                                 4 Defendant.

                                                                 5                                              II.
                                                                                                              PARTIES
                                                                 6

                                                                 7         7.    Plaintiff is, and at all times mentioned herein was, an individual, residing

                                                                 8 in the County of Riverside, State of California.

                                                                 9         8.    Plaintiff is considered a “consumer” as the term is defined by 15 U.S.C.
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                                                                10 section 1692a(3) and a “debtor” as the term is defined by California Civil Code
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                                                                11 section 1788.2(h).

                                                                12         9.     Plaintiff is informed and believes, and thereupon alleges, that

                                                                13 Defendants are, and at all times mentioned herein were, a corporation who were

                                                                14 conducting and engaging in business in the County of Riverside, State of California.

                                                                15         10.   Plaintiff is informed and believes, and thereupon alleges, that Defendants

                                                                16 use an instrumentality of interstate commerce or the mails in a business the principal

                                                                17 purpose of which is the collection of debts, or who regularly collects or attempts to

                                                                18 collect, directly or indirectly, debts owed or due or asserted to be owed or due another

                                                                19 and is therefore debt collectors as that phrase is defined by 15 U.S.C. section

                                                                20 1692a(6).

                                                                21

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                                                                                                               -3-
                                                                                                     CLASS ACTION COMPLAINT
                                                                23
                                                                Case 5:16-cv-00918-GW-DTB Document 1 Filed 05/05/16 Page 4 of 12 Page ID #:4


                                                                 1         11.   Plaintiff is informed and believes, and thereupon alleges, that Defendants

                                                                 2 are debt collectors as defined under Civil Code section 1788.2(c).

                                                                 3         12.   Defendants attempted to collect a consumer debt as defined under the

                                                                 4 FDCPA and Rosenthal FDCPA.

                                                                 5         13.   Plaintiff is informed and believes, and thereupon alleges, that at all times

                                                                 6 herein mentioned each of the Defendant was the agent, servant, employee, or partner

                                                                 7 of each of the remaining defendants and, in committing the acts and omissions

                                                                 8 hereinafter alleged, was acting within the course and scope of such agency,

                                                                 9 employment, partnership, or other business relationship, and were each responsible
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                                                                10 for the acts and omissions alleged in this complaint.
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                                                                11                                       III.
                                                                                               JURISDICTION AND VENUE
                                                                12

                                                                13         14.   This Court has jurisdiction under 15 U.S.C. section 1692k, 28 U.S.C.

                                                                14 section 1331, and 28 U.S.C. section 1367 for supplemental state claims.

                                                                15         15.   This action arises out of violations of the FDCPA and Rosenthal

                                                                16 FDCPA. Because Defendants do business within the State of California, County of

                                                                17 San Diego, personal jurisdiction is established.

                                                                18         16.   Venue is proper pursuant to 28 U.S.C. section 1391.

                                                                19                                        IV.
                                                                                                    RELEVANT FACTS
                                                                20
                                                                           17.   Sometime after January 9, 2016, Plaintiff received a collection notice,
                                                                21
                                                                     dated January 9, 2016, from Defendants. The collection notice stated that Plaintiff
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                                                                                                              -4-
                                                                                                    CLASS ACTION COMPLAINT
                                                                23
                                                                Case 5:16-cv-00918-GW-DTB Document 1 Filed 05/05/16 Page 5 of 12 Page ID #:5


                                                                 1 owed a debt in the amount of $8,542.62. A copy of Defendants’ January 9, 2016

                                                                 2 collection notice is attached hereto as Exhibit 1, and is incorporated herein by

                                                                 3 reference.

                                                                 4         18.     The statute of limitations on the alleged debt Plaintiff allegedly owed,

                                                                 5 had already expired by the time of the drafting of Defendants’ January 9, 2016

                                                                 6 collection notice.

                                                                 7         19.     The January 9, 2016 collection notice offered Plaintiff three different

                                                                 8 settlement options. The following settlement options were offered:

                                                                 9               (a) Lump Sum Settlement payment of $5,125.57;
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                                                                10               (b) 3 monthly payments of $1,993.28; or
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                                                                11               (c) 6 Monthly payments of $1,139.02.

                                                                12         20.     The January 9, 2016 collection notice also stated that:

                                                                13               “The law limits how long you can be sued on a debt. Because of the age
                                                                                 of your debt, LVNV Funding LLC will not sue you for it, and LVNV
                                                                14               Funding LLC will not report it to any credit reporting agency.”

                                                                15
                                                                           21.     The January 9, 2016 collection notice, however, does not inform the
                                                                16
                                                                     Plaintiff that acceptance of any of these offers would create a novation (i.e. a new
                                                                17
                                                                     contract) which would create a new statute of limitations on the alleged debt, and
                                                                18
                                                                     would thereby allow Defendants or the creditor to sue on the debt if Plaintiff were to
                                                                19
                                                                     fail to make payments pursuant to the new agreement.
                                                                20
                                                                     ///
                                                                21
                                                                     ///
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                                                                                                      CLASS ACTION COMPLAINT
                                                                23
                                                                Case 5:16-cv-00918-GW-DTB Document 1 Filed 05/05/16 Page 6 of 12 Page ID #:6


                                                                 1                                         V.
                                                                                                   CLASS ALLEGATIONS
                                                                 2

                                                                 3         22.    Plaintiff brings this action on his own behalf, and on behalf of all others

                                                                 4 similarly situated.

                                                                 5         23.    Plaintiff defines the FDCPA Class as: (i) all persons with addresses

                                                                 6 within the State of California; (ii) who were sent a written communication by

                                                                 7 Defendants that was substantially similar or identical to Plaintiff’s Exhibit 1; (iii) to

                                                                 8 recover a time-barred consumer debt; (iv) which was not returned by the United

                                                                 9 States Postal Service; (v) within one year prior to the filing of the Complaint in this
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                                                                10 action.
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                                                                11         24.    Similarly, Plaintiff defines the Rosenthal FDCPA Class as: (i) all persons

                                                                12 with addresses within the State of California; (ii) who were sent a written

                                                                13 communication by Defendants that was substantially similar or identical to Plaintiff’s

                                                                14 Exhibit 1; (iii) to recover a time-barred consumer debt; (iv) which was not returned by

                                                                15 the United States Postal Service; (v) within one year prior to the filing of the

                                                                16 Complaint in this action.

                                                                17         25.    The FDCPA Class and the Rosenthal FDCPA Class shall be referred to

                                                                18 jointly as “The Classes.”

                                                                19         26.    Defendants and its employees or agents are excluded from the Classes.

                                                                20         27.    Plaintiff does not know the exact number of persons in the Classes, but

                                                                21 believes them to be in the several hundreds, if not thousands, making joinder of all

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                                                                                                               -6-
                                                                                                     CLASS ACTION COMPLAINT
                                                                23
                                                                Case 5:16-cv-00918-GW-DTB Document 1 Filed 05/05/16 Page 7 of 12 Page ID #:7


                                                                 1 these actions impracticable.

                                                                 2         28.   The identity of the individual members is ascertainable through

                                                                 3 Defendants’ and/or Defendants’ agents’ records or by public notice.

                                                                 4         29.   There is a well-defined community of interest in the questions of law and

                                                                 5 fact involved affecting the members of the Classes. The questions of law and fact

                                                                 6 common to the Classes predominate over questions affecting only individual class

                                                                 7 members, and include, but are not limited to, the following:

                                                                 8         a)    Whether Defendants violated the FDCPA by sending a written
                                                                                 communication substantially in the form of Exhibit 1 to the members of
                                                                 9               the Classes;
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                                                                10         b)    Whether Defendants violated the Rosenthal FDCPA by sending using a
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                                                                                 written communication substantially in the form of Exhibit 1 to the
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                                                                11               members of the Classes;

                                                                12         c)    Whether members of the Classes are entitled to the remedies under the
                                                                                 FDCPA;
                                                                13
                                                                           d)    Whether members of the Classes are entitled to the remedies under the
                                                                14               Rosenthal FDCPA;

                                                                15         e)    Whether members of the Classes are entitled to declaratory relief;

                                                                16         f)    Whether members of the Classes are entitled to an award of reasonable
                                                                                 attorneys’ fees and costs of suit pursuant to the FDCPA;
                                                                17
                                                                           g)    Whether members of the Classes are entitled to an award of reasonable
                                                                18               attorneys’ fees and costs of suit pursuant to the Rosenthal FDCPA.

                                                                19         30.   Plaintiff will fairly and adequately protect the interest of the Classes.

                                                                20         31.   Plaintiff has retained counsel experienced in consumer class action

                                                                21 litigation and in handling claims involving unlawful debt collection practices.

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                                                                                                              -7-
                                                                                                    CLASS ACTION COMPLAINT
                                                                23
                                                                Case 5:16-cv-00918-GW-DTB Document 1 Filed 05/05/16 Page 8 of 12 Page ID #:8


                                                                 1         32.   Plaintiff’s claims are typical of the claims of the Classes, which all arise

                                                                 2 from the same operative facts involving unlawful collection practices.

                                                                 3         33.   A class action is a superior method for the fair and efficient adjudication

                                                                 4 of this controversy.

                                                                 5         34.   Class-wide damages are essential to induce Defendants to comply with

                                                                 6 the federal and State laws alleged in the Complaint.

                                                                 7         35.   The interests of class members in individually controlling the

                                                                 8 prosecution of separate claims against Defendants is small because the maximum

                                                                 9 statutory damages in an individual action under the FDCPA or Rosenthal FDCPA is
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                                                                10 $1,000. Management of these claims is likely to present significantly fewer
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                                                                11 difficulties than those presented in many class claims, e.g. securities fraud.

                                                                12         36.   Defendants have acted on grounds generally applicable to the Classes,

                                                                13 thereby making appropriate final declaratory relief with respect to the class as a

                                                                14 whole.

                                                                15         37.   Plaintiff contemplates providing notice to the putative class members by

                                                                16 direct mail in the form of a postcard and via Internet website.

                                                                17         38.   Plaintiff requests certification of a hybrid class combining the elements

                                                                18 of Fed. R. Civ. P. 23(b)(3) for monetary damages and Fed. R. Civ. P. 23(b)(2) for

                                                                19 equitable relief.

                                                                20 ///

                                                                21 ///

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                                                                                                              -8-
                                                                                                    CLASS ACTION COMPLAINT
                                                                23
                                                                Case 5:16-cv-00918-GW-DTB Document 1 Filed 05/05/16 Page 9 of 12 Page ID #:9


                                                                 1                                           VI.
                                                                                                 FIRST CAUSE OF ACTION
                                                                 2                                (Violation of the FDCPA)

                                                                 3          39. Plaintiff incorporates by reference all of the above paragraphs of this

                                                                 4 Complaint as though fully stated herein.

                                                                 5         40.    Under California law, when the statute of limitations has barred remedy

                                                                 6 on an original obligation, and a promise to pay made after such time is relied upon by

                                                                 7 a party seeking to enforce the promising party’s obligation, the action is not upon the

                                                                 8 original obligation but is instead upon the new agreement. Youngdale v. Gahwiler

                                                                 9 198 Cal.App. 2d 156 (Cal. 1961).
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                                                                10         41.    Defendants violated 15 U.S.C. sections 1692e, 1692e(2)(A), and
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                                                                11 1692e(10), because Defendants claimed it would not sue the Plaintiff while also

                                                                12 failing to disclose that accepting any of the settlement offers would create a novation,

                                                                13 and thereby create a new agreement with a new statute of limitations that would

                                                                14 permit the current creditor to file suit in the event the Plaintiff defaults on the new

                                                                15 agreement. Without such disclosure, the Plaintiff would put himself in a worse

                                                                16 position if he were to agree to accept any of the offers, because absent such

                                                                17 acceptance (entering into a new agreement) Defendants cannot sue Plaintiff due to the

                                                                18 statute of limitations having already expired. However, if Plaintiff accepts any of the

                                                                19 settlement offers, he would subject themselves to a potential lawsuit if he defaults on

                                                                20 the new agreement. Thereby, Defendants attempted to mislead and trick Plaintiff into

                                                                21 accepting one of the offers under the guise that Defendants would not sue them upon

                                                                22
                                                                                                               -9-
                                                                                                     CLASS ACTION COMPLAINT
                                                                23
                                                          Case 5:16-cv-00918-GW-DTB Document 1 Filed 05/05/16 Page 10 of 12 Page ID #:10


                                                                 1 the debt, and such conduct would so mislead the least sophisticated consumer into

                                                                 2 believing it could accept one of the offers without any fear of legal repercussions

                                                                 3 from Defendants if the least sophisticated consumer should default thereupon.

                                                                 4         42.   As a result of each and every violation of the FDCPA, Plaintiff is entitled

                                                                 5 to actual damages pursuant to 15 U.S.C. section 1692k(a)(1); statutory damages in an

                                                                 6 amount up to $1,000.00 pursuant to 15 U.S.C. section 1692k(a)(2)(A) and reasonably

                                                                 7 attorneys’ fees and costs pursuant to 15 U.S.C. section 1692k(a)(3).

                                                                 8                                           VII.
                                                                                              SECOND CAUSE OF ACTION
                                                                 9                          (Violation of the Rosenthal FDCPA)
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                                                                10         43.   Plaintiff incorporates by reference all of the above paragraphs of this
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                                                                11 Complaint as though fully stated herein.

                                                                12         44.   By violating 15 U.S.C. sections 1692e, 1692e(2)(A), and 1692e(10) of

                                                                13 the FDCPA, Defendants’ conduct is also a violation of California Civil Code section

                                                                14 1788.17, also known as the Rosenthal FDCPA, because section 1788.17 incorporates

                                                                15 that provision of the FDCPA.

                                                                16         45.   Defendants violated Civil Code section 1788.17 because it violated 15

                                                                17 U.S.C. sections 1692e, 1692e(2)(A), and 1692e(10), as discussed above.

                                                                18         46.   The Ninth Circuit in Gonzales v. Arrow Fin. Servs., LLC, 660 F.3d 1055,

                                                                19 1066 (9th Cir. 2011) has ruled that the Rosenthal Act, via California Civil Code

                                                                20 section 1788.17, incorporates the Federal FDCPA’s class action damages provision in

                                                                21 15 U.S.C. section 1692k(a)(2)(B). Specifically, the Ninth Circuit stated that “in light

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                                                                                                             - 10 -
                                                                                                    CLASS ACTION COMPLAINT
                                                                23
                                                          Case 5:16-cv-00918-GW-DTB Document 1 Filed 05/05/16 Page 11 of 12 Page ID #:11


                                                                 1 of the clear statutory language, unequivocal legislative history, and the unanimous

                                                                 2 agreement of the courts, we hold that the Rosenthal Act permits class actions.”

                                                                 3        47.      As a result of each and every violation of the Rosenthal FDCPA,

                                                                 4 Plaintiff is entitled to actual damages pursuant to California Civil Code section

                                                                 5 1788.30(a); statutory damages under 1692k(a)(2)(A) which is incorporated by

                                                                 6 California Civil Code section 1788.17; statutory damages for a knowing or willful

                                                                 7 violation in the amount of up to $1,000.00 pursuant to California Civil Code section

                                                                 8 1788.30(b); and reasonable attorney’s fees and costs pursuant to California Civil

                                                                 9 Code section 1788.30(c).
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                                                                10                                 VIII.
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                                                                                   PRAYER FOR DAMAGES AND OTHER REMEDIES
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                                                                11
                                                                          1. For Certifying the Classes as requested herein;
                                                                12
                                                                          2. Certifying the Classes as requested herein;
                                                                13
                                                                          3. An award of statutory damages of $1,000.00, pursuant to 15 U.S.C. §
                                                                14
                                                                                1692k(a)(2)(A), for each plaintiff and putative class member;
                                                                15
                                                                          4. An award of statutory damages of $1,000.00, pursuant to Cal. Civ. Code §
                                                                16
                                                                                1788.17, for each plaintiff and putative class member;
                                                                17
                                                                          5. An award of statutory damages of $1,000.00, pursuant to Cal. Civ. Code §
                                                                18
                                                                                1788.30(b), for each plaintiff and putative class member;
                                                                19
                                                                          6. An award of costs of litigation and reasonable attorney’s fees, pursuant to
                                                                20
                                                                                Cal. Civ. Code § 1788.30(c);
                                                                21
                                                                          7. An award of costs of litigation and reasonable attorney’s fees, pursuant to
                                                                22
                                                                                                              - 11 -
                                                                                                     CLASS ACTION COMPLAINT
                                                                23
                                                          Case 5:16-cv-00918-GW-DTB Document 1 Filed 05/05/16 Page 12 of 12 Page ID #:12


                                                                 1         15 U.S.C. § 1692k(a)(3); and

                                                                 2      8. Any and all other relief that this Court deems just and proper.

                                                                 3 DATED: May 5, 2016                          MASHIRI LAW FIRM
                                                                                                               A Professional Corporation
                                                                 4
                                                                                                               By: /s/Alex Asil Mashiri
                                                                 5                                                Alex Asil Mashiri
                                                                                                                  Attorney for Plaintiff
                                                                 6                                                DIEGO CASANOVA

                                                                 7 DATED: May 5, 2016                          SEMNAR & HARTMAN, LLP

                                                                 8                                             By: s/ Jared M. Hartman
                                                                                                               Jared M. Hartman, Esq.
                                                                 9                                             Semnar & Hartman, LLP
                                                                                                               Attorneys for Plaintiff
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                                                                                                          - 12 -
                                                                                                 CLASS ACTION COMPLAINT
                                                                23
